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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

BOUCHARD TRANSPORTATION CO.,           )
INC., TUG DONNA J. BOUCHARD CORP.      )             CIVIL ACTION 20-1116
AND B. NO. 272 CORP.,                  )
                                       )             SECTION “E” (1)
Plaintiffs,                            )
                                       )             JUDGE MORGAN
v.                                     )
                                       )             MAGISTRATE VAN MEERVELD
Defendants,                            )
                                       )
DEPARTMENT OF HOMELAND                 )
SECURITY, ADMIRAL JOHN P. NADEAU, )
CAPTAIN KRISTI M. LUTTRELL, ES&H       )
OF DALLAS, L.L.C., YELLOW FIN          )
MARINE SERVICES LLC, YELLOW FIN        )
MARINE CONSULTANTS, L.L.C. and         )
FOURCHON SHOREBASE, L.L.C.             )
_______________________________________)

            FEDERAL DEFENDANTS’ EX PARTE MOTION TO REOPEN
         THIS CASE TO CONSIDER A MOTION FOR SUMMARY JUDGMENT

       On May 26, 2020, the Court directed that this case be administratively closed and that any

party seeking to reopen it file a written motion. Order, R. Doc. 11. Federal Defendants—the

United States Department of Homeland Security; Admiral John Nadeau, U.S. Coast Guard; and

Captain Kristi Luttrell, U.S. Coast Guard—respectfully advise that the facts have changed and that

this case is moot as a result. Given changed circumstances, Federal Defendants ask the Court to

lift the administrative closure and reopen this case for the purpose of considering their

accompanying motion for summary judgment.1 If granted, the motion will clear this case from

the active docket.



1
 On Wednesday, May 6, 2020, the undersigned phoned opposing counsel and asked whether this
action might be dismissed given the vessels’ return to Plaintiffs’ possession and control. The call
was followed by an e-mail exchange later that day. Opposing counsel indicated that he was
“waiting on instructions regarding dismissing the Complaint and hope to hear in a few days.” E-
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June 1, 2020
                                                 Respectfully submitted,

                                                 JOSEPH H. HUNT
                                                 Assistant Attorney General Civil Division

                                                 PETER G. STRASSER
                                                 United States Attorney

                                                 SHARON D. SMITH
                                                 Assistant United States Attorney

                                                  /s/ Michael A. DiLauro
                                                 MICHAEL A. DiLAURO, T.A.
                                                 JUSTIN R. JOLLEY
                                                 U.S. Department of Justice
                                                 Civil Division, Torts Branch
                                                 Aviation, Space & Admiralty Litigation
                                                 P.O. Box 14271
                                                 Washington, DC 20044-4271
                                                 Tel: (202) 616-4047/4035
                                                 Fax: (202) 616-4159
                                                 E-Mail: michael.dilauro@usdoj.gov
                                                 Attorneys for the United States



                                CERTIFICATE OF SERVICE

       I certify that on June 1, 2020, I filed the foregoing document via the CM/ECF system,

which sent a copy to the following counsel of record:

       Robert H. Murphy
       Peter B. Sloss
       Timothy D. DePaula
       MURPHY, ROGERS, SLOSS,
        GAMBEL & TOMPKINS
       701 Poydras Street, Suite 400
       New Orleans, LA 70139
       Counsel for Plaintiffs

                                                /s/ Michael A. DiLauro
                                                MICHAEL A. DiLAURO
                                                U.S. Dept. of Justice

mail Bouchard (Murphy)/Fed. Defs. (DiLauro), May 6, 2020. No further response was received.
                                               2
